                   UNITED STATES BANKRUPTCY COURT
                    EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

IN RE:                                       )
Caylor, Kevin E.                             )        Case No. 13-44536
Caylor, LouAnn                               )         Chapter 7
                                             )
                                             )        Judge Mark A. Randon
                                             )


            TRUSTEE’S APPLICATION FOR COMPENSATION
                AND REIMBURSEMENT OF EXPENSES

      The Trustee of the above referenced case applies for an order pursuant to 11
U.S.C. §330(a) and §503(b), allowing for compensation and expense as itemized
below.

      The amount upon which the trustee’s compensation has been computed is
$86,835.63. This does not include any exempt amounts paid to the debtor(s)
and/or any refunds to be made to the debtor(s).

      Compensation is computed as follows:

     25%   of First $5,000   ($1,250 Maximum)                  $   1,250.00
     10%   of Next $45,000 ($4,500 Maximum)                    $   4,500.00
      5%   of Next $950,000 ($47,500 Maximum)                  $   1,841.78
      3%   of Balance                                          $       0.00

                    Total Compensation                         $   7,591.78

LESS INTERIM PAYMENTS RECEIVED
BY THE TRUSTEE                                                 $     ($0.00)

            TOTAL COMPENSATION
            REQUESTED                                          $   7,591.78

      Trustee Expenses:

            Nature                                           Amount

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             TOTAL EXPENSES REQUESTED $                      0.00

      The compensation sought by this application is for actual and necessary
services rendered. In the course of the performance of his/her duties, the Trustee
has advanced monies from personal funds for actual and necessary expenses
incurred, and has not been reimbursed.

      There is no agreement or understanding between the Trustee and any other
person for the division of compensation sought by this application, except as
permitted by 11 U.S. C. § 330.

      WHEREFORE, the Trustee requests that this application be approved by this
Court, and that the fees and expenses be allowed.


Dated: January 31, 2018                     /s/ Homer McClarty
                                            Homer McClarty P26670
                                            19785 West Twelve Mile Road, #331
                                            Southfield, MI 48076
                                            trustee@morganmcclarty.com




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